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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO




    IRONSHORE INDEMNITY, INC.
                                           Civil No. 23cv1370
             Plaintiff
                                           In Admiralty
                  V.

    VILLA MARINA YACHT HARBOR,
               INC.

             Defendant




                   COMPLAINT FOR DECLARATORY RELIEF

TO THE HONORABLE COURT:

    COMES   NOW,       the   plaintiff,        Ironshore    Indemnity,         Inc.,

through the undersigned counsel, and for its Verified Complaint

for Declaratory Relief, alleges as follows:

                         JURISDICTION AND VENUE

    1.    This    action     is    filed   under      and   pursuant      to    the

Declaratory Judgment Act, 28 U.S.C. § 2201.

    2.    This matter involves a declaration of rights regarding

the extent of insurance coverage under an admiralty or maritime

contract of insurance and, thereby, comes within the Admiralty

and Maritime Jurisdiction of the United States District Court

pursuant to 28 U.S.C. § 1333. This is an admiralty and maritime
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claim within the meaning of Rule 9(h) of the Federal Rules of

Civil Procedure.

    3.    An   actual   controversy     of    justiciable     nature    exists

between the Plaintiff and the Defendant involving the rights and

obligations under a contract of marine insurance, and, depending

upon the construction of said contract, this controversy may be

determined by a judgment of this Court.

    4.    Venue is proper in this District pursuant to 28 U.S.C.

§ 1391.


                                 PARTIES

    5.    Plaintiff is a corporation in the business of, among

other things, the sale and issuance of marine insurance policies

and is licensed to conduct the business of insurance in the

Puerto Rico.     Plaintiff’s main offices are located at 1010 Dale

Street North St. Paul Minneapolis, MN 55117.

    6.    Upon     information    and        belief,    Defendant       is   a

corporation incorporated under the laws of the Commonwealth of

Puerto Rico with its principal place of business in Fajardo,

Puerto Rico.

                                  FACTS

    7.    On or before November 7, 2014, Defendant, through its

insurance broker, made an application to Plaintiff for a marine

policy of marine general liability insurance.
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    8.         On    or   about    November       7,   2014,     Plaintiff         issued     to

Defendant a marine general liability policy of insurance under

Policy    No.       BWL000273-00        (the    “Policy”)       to   be    effective        from

November 7, 2014, through November 7, 2015. A true and correct

copy of the Policy is attached hereto as Exhibit 1 and is fully

incorporated herein.

    9.         Defendant, through its insurance broker, renewed the

Policy for the policy years November 7, 2015 through November 7

2016, this time with Policy No. BWL000441-00 under the same

terms    and    conditions         as    Policy      No.   BWL000273-00            (hereafter

jointly referred to as “the Policies”).                     A true and correct copy

of the Policy is attached hereto as Exhibit 2 and is fully

incorporated herein.

    10.        The Policies are policies for marine insurance.

    11.        The Policies include coverage for claims for Property

Damage under the terms therein which are incorporated herewith

in their entirety.

    12.        At some point in the year 2015, Mr. Jose R. Busquets-

Zalduondo,      owner     of   a   motor       yacht     that    was      stored    in     Villa

Marina     Yacht      Harbor,      at     the     time     owned       and     operated       by

Defendant,      gave      notice    to    the    Defendant       that      his     yacht     had

become infested with termites after the Defendant had moved the

yacht to a new location within the marina without notice to Mr.

Busquets and made a claim to Defendant for such damages.
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       13.     Defendant        did    not,      as   required        by     the        Policies,

exercise due diligence and give notice of this occurrence to

Plaintiff as soon as practicable.

       14.     Defendant        did    not,      as   required        by     the        Policies,

declare or give notice to Plaintiff of the alleged loss and

occurrence within the Policy year.

       15.     Plaintiff        learned      about    the      occurrence          in    February

2023    when    the      attorney      for    Mr.     Busquets       called        Plaintiff’s

general agent in Puerto Rico, Blue Water Insurers, Inc.,                                         to

inquire about the status of an alleged claim under the Policies

for the occurrence described above.

       16.     In   a    letter       to   the    broker         dated      July    12,     2023,

Plaintiff declined to cover the alleged damage to Mr. Busquets’

yacht    because        it    was   prejudiced        by     the    late     reporting.         See

Exhibit 3, letter to defendant denying coverage which is fully

incorporated herein.

       17.     Section IV(2) of the Policies states that in the event

of an occurrence, claim or suit, the insured has a duty to

“promptly”      give         Ironshore     notice     of      any   occurrence           that   is

likely to result in a claim under the policy. “Occurrence” is

defined in the policy as an accident, including continuous or

repeated     exposure         to    substantially          the     same     general       harmful

conditions. The Policies require that the notice state how, when
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and where the occurrence took place and the names and addressed

of any injured person or witnesses.

    18.    The same clause further provides that:

    b) If a claim is made or “suit” is brought against any
    insured in excess of the policy deductible or is likely
    to exceed the deductible, you must see to it that we
    receive prompt written notice of the claim or “suit”.
         i) You and any other involved insured must:
                (a) Immediately send us copies of any
                demand, notices, summonses or legal papers
                received in connection with the claim or
                “suit;”
                (b) Authorize us to obtain records and
                other information.
                (c) Cooperate with us in the investigation,
                settlement or defense of this claim or
                “suit;” and
                (d) Assist us, upon our request, in the
                enforcement of any right against any person
                or organization, which may be liable to the
                insured because of injury or damage to
                which this insurance may also apply.

                  (Emphasis added).

    19.   Paragraph 14 of the Marine Operators Legal Liability

Endorsement provides:

    No action shall lie against this company for the
    recovery of any loss sustained by the insured unless
    such action be brought against this company within one
    (1) year after the final judgment or decree is entered
    in the litigation against the insured, or in case the
    claim against this company accrues without the entry
    of such final judgment or decree, unless such action
    be brought within one (1) year from the date of the
    payment of such claim; provided, however, that where
    such limitation of time is prohibited by the laws of
    the State wherein this policy is issued, then and in
    that event no action under this policy shall be
    sustainable unless commenced within the shortest
    limitation permitted under the law of such State.
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    (Emphasis added).

    20.    Article 11.190(1)(c) of the Puerto Rico Insurance Code

provides   in    relevant    part       that   in   the     policies    of    property

insurance against maritime and transport perils, the insured’s

right to file suit against the insurer may not be limited to a

period of less than one year from the date on which the event

that results in the loss occurs.

    21.    The    Defendant       has    breached       the   foregoing       Policies

language in the following respects:

       a. It failed to give Plaintiff prompt written notice of

           the claim as required by the Policy;

       b. It failed to immediately send Plaintiff copies of any

           demand, notices, summonses or legal papers received in

           connection with the claim as required by the Policy;

       c. It      failed     to     cooperate        with     Plaintiff       in   the

           investigation and defense of this claim;

       d. It     failed     to    use    due   diligence      to     give    Plaintiff

           prompt notice of any occurrence which may result in

           loss, damage and/or expense for which Plaintiff is or

           may become liable, as required by Policy.

    22.    Furthermore, Defendant’s action to file suit against

Plaintiff under the Policy is time barred pursuant to Paragraph

14 of the Marina Operators Liability Endorsement and Article

11.190(1)(c) of the Puerto Rico Insurance Code.
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    23.   Plaintiff contends that, under the facts as set forth

herein, the Policies do not cover Defendants for losses, claims

or expenses relating to the alleged occurrence and damage to the

motor yacht.

    24.   Based on this dispute, pursuant to 28 U.S.C. § 2201,

it is necessary and proper for the Court at this time to declare

the respective rights and liabilities of the parties under the

Policy.


    WHEREFORE,   Plaintiff,   Ironshore    Indemnity,       Inc.,   requests

that this Court enter judgment in its favor and against the

Defendant and enter an Order providing the following relief:


    A. A declaration of rights that the Policies do not cover

    the alleged loss to the motor yacht owned by Mr. Busquests;


    B. A declaration that any claims by the Defendant under the

    Policies for the above-described loss and occurrence are

    time barred; and


    C. Award Plaintiff its costs and all other relief that the

    Court deems fair and appropriate.

RESPECTFULLY SUBMITTED.

    In San Juan, Puerto Rico, this 17th day of July 2023.


                                 CASTAÑER & CÍA P.S.C.
                                 MAI Center
                                 Marginal Kennedy
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